






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00500-CV






In re Gary Lloyd Miller






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R AN D U M   O P I N I O N



		Relator Gary Lloyd Miller, acting pro se, filed a letter that we have construed as
a&nbsp;petition for writ of mandamus compelling a prison property clerk or the Director of the
Texas&nbsp;Department of Criminal Justice to send certain confiscated items--Miller's tennis shoes,
typewriter, and "legal material"--to the unit where he transferred.

		Appellate courts may issue writs of mandamus only against a district judge
or&nbsp;county&nbsp;judge sitting in our district, or to enforce our jurisdiction.  See Tex. Gov't Code Ann.
§&nbsp;22.221(a), (b) (West 2004).  Miller's petition is not directed to a district or county judge.  Further,
Miller has not shown that the writ is necessary to enforce our jurisdiction because he is not legally
required to file any document in his pending appeal before this Court--his appellant's brief, the
appellee's brief, and the clerk's record have all been filed.  See In re Garrett, No. 07-06-00476-CV,
2006 Tex. App. LEXIS 11034, at *2 (Tex. App.--Amarillo 2006, orig. proceeding) (denying
mandamus petition after concluding that inmate who complained that prison supervisor was
depriving him of "indigent supplies" needed for appeal had not shown deprivation of his "right to
process his appeal" because record was not yet due and he had "no legal requirement to file any
document" in his appeal at that time).

		Because Miller has not shown that issuance of a writ of mandamus is necessary
to&nbsp;enforce our jurisdiction and because his petition is not directed to a district or county judge,
we&nbsp;lack jurisdiction to grant the requested relief.  See Tex. Gov't Code Ann. § 22.221(a), (b).
Accordingly, we dismiss Miller's petition for writ of mandamus for want of jurisdiction.  See Tex.&nbsp;R.
App. P. 52.8(a).



						__________________________________________

						Jeff Rose, Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Filed:   August 9, 2012


